Case 2:05-CV-02310-SHI\/|-tmp Document 20 Filed 06/21/05 Page 1 of 2 Page|D 19

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IN THE UNITED sTATEs DISTRICT coURT -- .D.C.
FoR THE WESTERN DIsTRIc'r oF TENNESSEE 05 JU~ 2
wEsTF.RN DIvIsIoN l PH l 3”

 

MARCUS K.ANARD PAYNE,
Plaintiff,
vs. Case No: 05- -Ma P

STATE OF TENNESSEE, et al.,

Defendants.

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ORDER GRANTING AMENDED MOTION FOR ENLARGEMENT OF TIME

 

Before the court is defendant State of Tennessee's unopposed
Amended Motion for Enlargement of Time, filed June 20, 2005 (Dkt
MU). Wmnmmpnis}wHPyGMWHD. Defendant State of
Tennessee Shall have up to and including July 15, 2005, to respond
to plaintiff’e complaint.

I'I` IS SO ORDERED.

"C:@@@-»~

TU M. PH.AM
United States Magistrate Judge

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Date

 

Thls document entered on the docket sheet In compliance
with Rule 58 and/or 79(3) FHCP on "

 

 

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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

